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                            United States District Court
                         For the Western District of Virginia
                               Harrisonburg Division

_________________________________________
                                          )
                                          )                   Criminal No: 5:14cr00011-9
UNITED STATES OF AMERICA,                 )
                                          )
                                          )                        REPORT AND
v.                                        )                      RECOMMENDATION
                                          )
                                          )
BARRY ALLEN SANDIDGE,                     )                      By: Hon. James G. Welsh
                                          )                          U. S. Magistrate Judge
                  Defendant               )
                                          )
_________________________________________ )


       In accordance with the provisions of Title 28 U.S.C. § 636(b)(3) and upon the

defendant’s informed and written consent, this case was referred to the undersigned for the

purpose of conducting a plea hearing.

       As set forth in more detail in the Third Superseding Indictment (docket #161), the Grand

Jury previously returned a multiple count Third Superseding Indictment charging the above-

named defendant in Count One that beginning on a date unknown to the Grand Jury, but no later

than Spring of 2008 and continuing to on or about March 1, 2011, in the Western Judicial

District of Virginia and elsewhere, he and others known and unknown to the grand jury,

combined, conspired, and agreed with other persons to distribute a mixture and substance

containing a detectable amount of marijuana, a Schedule I controlled substance, in violation of

21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). All in violation of 21 U.S.C. § 846. In addition, the

Third Superseding Indictment contains a Notice of Forfeiture apprising the above-named
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defendant that certain of his property is subject to forfeiture upon conviction of any one or more

of the offenses alleged against him.

        In accordance with the provisions of Title 28 U.S.C. ' 636(b) a plea hearing was

conducted before the undersigned on August 25, 2014. The proceeding was recorded by a court

reporter. See Rule 11(g). The United States was represented by Drew Smith, Assistant United

States Attorney. The defendant was at all times present in person and with his counsel, Aaron

Cook.

        After the defendant was placed under oath, he stated that he understood his obligation to

testify truthfully in all respects under penalty of perjury, and he understood the government=s

right in a prosecution for perjury or false statement to use against him any statement that he

gives under oath. See Rule 11(b)(1)(A). The defendant then testified that his name is BARRY

ALLEN SANDIDGE; he is fifty-eight (58) years of age, and he has a high school education.

He represented that he can read, write and understand the English language without difficulty,

that he has no medical condition, either physical or mental, which might interfere with his

ability to understand and participate fully in the proceeding, that he is using no medication or

drugs which might impair his ability to understand and participate in the proceeding, and that

his mind is clear. The defendant=s attorney then stated that he had no reservations about his

client=s competency to plead guilty to the charge against him in Count One of the multi-count

Third Superseding Indictment.

                  DEFENDANT=S RESPONSES TO RULE 11 INQUIRIES

        The defendant acknowledged that he had received a copy of the Third Superseding

Indictment and fully understood the charge against him. He stated that he had discussed the

charge with his attorney and had been given enough time to do so. He stated that he specifically

understood it charged him with a felony offense. See Rule 11(b)(1)(G). He testified that he had
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discussed with his attorney the offense elements which must be proven by the government

beyond a reasonable doubt and any possible defenses he might have. He stated that he had been

given adequate time to prepare any defenses he might have to the charge. He stated that his

decision to enter a plea of guilty to Count One of the Third Superseding Indictment had been

made after consulting with his attorney and that he was fully satisfied with the services of his

attorney.

       He next stated that he understood he was in court for the purpose of entering pleas of

guilty to a felony offense pursuant to the express terms of the plea agreement. Upon inquiry, the

defendant=s attorney represented that he had no reservations about the defendant=s competency to

enter a plea of guilty to the felony offense in accordance with the terms of the plea agreement.

       The defendant confirmed that he fully recognized and understood his right to have the

Rule 11 hearing conducted by a United States district judge, and he gave his verbal and written

consent to proceed with the hearing before the undersigned United States magistrate judge. The

defendant=s written consent was filed and made a part of the record.

       Counsel for both parties having previously informed the court that the defendant=s

proposed plea was to be made pursuant to a written plea agreement (see Rule 11(c)(2)), counsel

for the government then set forth the government=s understanding of the plea agreement in some

detail: including the agreement of the defendant to plead guilty to the charge alleged against him

in the Third Superseding Indictment [&A.1.]; the defendant=s express acknowledgment that the

maximum statutory penalty for the offense charged in Count One (conspiracy to distribute and

possession with intent to distribute a substance containing a detectable amount of marijuana) is a

fine of $1,000,000.00, a twenty (20) year term of imprisonment, and a five year maximum term

of supervised release [Id.]; his acknowledgment that he may be required to pay restitution and

that hid assets may be subject to forfeiture [¶&A.1. and B.4.a.]; his express admission of his
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factual guilt to the offense charged in Count One [&A.1.]; the defendant=s obligation to pay a

$100.00 special assessment and the related restitution and assessment provision [&A.1. and

¶B.4.a.]; the defendant=s acknowledgment of the trial rights waived by entry of a voluntary plea

of guilty [&A.2.]; the agreement=s provision outlining the fact that sentencing is within the sole

discretion of the court Asubject to its consideration@ of the Sentencing Guidelines and the factors

set forth in 18 U.S.C. ' 3553(a) [&B.1.]; the defendant=s express recognition that he would not be

allowed to withdraw his guilty plea even if the court disregards the plea agreement’s stipulations

and recommendations [& B.1.]; the defendant’s acknowledgment that he would not be eligible

for parole during any term of incarceration and that there is a substantial likelihood he will be

incarcerated [¶ B.1.]; the several applicable sentencing provisions and policies, including the

2013 edition of the Sentencing Guidelines Manual, drug quantity table § 2D1.1(c)(5) [base

offense level 30] [At least 700 KG but less than 1000 KG of marijuana], the government’s

agreement to exercise prosecutorial discretion and not object to a two-level downward variance

in the base offense level, the defendant’s agreement not to seek a further sentence reduction

pursuant to 18 U.S.C. § 3582(c), and the parties’ recognition of the court’s final discretion

whether to grant the two-level downward variance [¶B.2.]; the acceptance of responsibility

provision [¶B.2.]; the substantial assistance provision [¶B.3.]; the defendant=s monetary and

related obligations, including the terms of his obligation to pay a mandatory assessment of

$100.00 and to pay restitution of the entire scope of his criminal conduct [&B.4.a.]; the terms of

the defendant’s financial disclosure obligations [¶B.4.b.]; the defendant’s understanding of

collection-related matters [¶B.4.c]; the nature and scope of the defendant’s asset forfeiture

obligation [¶C]; the scope of the defendant=s express waiver of his right of direct appeal [&D.1.];

the scope of the defendant=s express waiver of his right to make any collateral attack on any

judgment or sentence imposed by the court [&D.2.]; the defendant’s waiver without limitation of
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any right to access any records pertaining to the investigation or prosecution of this case [¶D.3.];

the defendant=s abandonment of any seized items [&D.5.]; the defendant’s stipulation of the

admissibility and waiver of any constitutional or other legal protections related to any statements

previously made by him in any setting in the event he withdraws his plea of guilty [¶D.7.]; the

defendant’s various additional obligations [¶D.8.]; the remedies available to the government in

the event of a breach of the agreement by the defendant [&E.]; the defendant=s acknowledgment

that he had been effectively represented in this case [&F.3]; the defendant’s stipulation that there

is a sufficient factual basis to support the elements of the offenses to which he is pleading guilty

[¶F.5.]; and the substance of the agreement=s other terms and provisions.                   See Rule

11(b)(1)(B)B(N) and 11(c)(1)B(3).

       After which, the defendant was asked whether his understanding of the terms of the

agreement was different in any way from that outlined by the attorney for the government, and

he testified that his understanding was precisely the same as that set forth by the government=s

attorney. Counsel for the defendant, likewise, represented that his understanding was the same;

he further represented that each of its terms had been reviewed with the defendant, and he stated

that he was satisfied that the defendant understood all of its terms.

       The defendant was then shown the plea agreement, and he affirmed it to be his signature

on the document. He further testified that no one had made any other, different or additional

promise or assurance of any kind in an effort to induce him to enter a plea of guilty and that no

one had attempted in any way to force him to plead guilty in this case. The agreement was then

received, filed and made a part of the record, and it was noted for the record that the written plea

agreement constitutes the best evidence of its terms, and as such it Aspeaks for itself.@

       After the range of punishment for the offense charged in Count One of the Third

Superseding Indictment had been outlined to the defendant, he acknowledged that he understood
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the maximum statutory penalty proved by law for conviction of the offense alleged in Count One

is a fine of $1,000,000.00, a twenty (20) year term of imprisonment, and a five-year maximum

term of supervised release. See Rule 11(b)(H)-(I). In addition, the defendant re-acknowledged

that he understood that he would be required to pay a mandatory $100.00 special assessment.

See Rule 11(b)(1)(L).

       The defendant then acknowledged that he knew his plea, if accepted, would result in him

being adjudged guilty of a felony offense and that such adjudication may deprive him of valuable

civil rights, such as the right to vote, the right to hold public office, the right to serve on a jury

and the right to possess any kind of firearm.

       The defendant was informed, and he expressly acknowledged, that the court’s

determination whether to accept or reject the plea agreement would include consideration of

multiple factors, including: the nature and circumstances of the offense; the defendant=s history

and characteristics; the seriousness of the offense; the need to promote respect for the law; the

need to provide for just punishment and afford adequate deterrence; the need to protect the

public; any determined need to provide the defendant with educational or vocational training,

medical care or other correctional treatment in the most efficient manner; the kinds of available

sentences; the pertinent sentencing guidelines and policy statements; the need to avoid unwanted

sentence disparities; and any need to provide for restitution. He also acknowledged that he

understood the court may order him to make full restitution to any victim and would require him

to forfeit certain property to the government pursuant to the terms of the plea agreement. See

Rule 11(b)(1)(J)B(K).

       The defendant testified that he and his attorney had talked about how the Sentencing

Commission Guidelines might apply to his case and the court=s obligation to calculate the

applicable sentencing-guideline range and to consider that range, possible departures under the
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Guidelines and other factors under 18 U.S.C. ' 3553(a). See Rule 11(b)(1)(M). He stated that he

understood that the court will not be able to determine the recommended guideline sentence for

his case until after the pre-sentence report had been completed and he and the government each

had an opportunity to challenge the facts reported by the probation officer.

       The defendant then acknowledged that he knew the entry of a guilty plea constituted an

admission of all of the elements of a formal felony charge, and that he knew to the extent the

plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the

agreement, reject it, or defer a decision until the court has reviewed the presentence report. See

Rule 11(c)(3)(B). He acknowledged that he knew parole had been abolished and that he would

not be released on parole. He further acknowledged that he knew and understood any sentence

of incarceration imposed by the court would also include a mandatory period of Asupervised

release,@ and he knew any violation of the terms or conditions of such supervised release could

result in his being returned to prison for an additional period of time. See Rule 11(b)(1)(H).

       Pursuant to the terms of the plea agreement [&D.1.], the defendant expressly

acknowledged that he understood that he was giving-up all waivable rights to appeal. Likewise,

pursuant to the terms of the plea agreement [&D.2.], he expressly acknowledged that he

understood he was giving-up all waivable rights to challenge his conviction or his sentence in

any post-conviction proceeding.

       Each of his procedural rights surrendered on a plea of guilty was also explained:

including, his right to plead not guilty to any offense charged against him and his right to persist

in any such not guilty plea; his attendant right to a trial by an impartial jury; his right to counsel

to assist in his defense; his presumption of innocence, the obligation of the government to prove

his guilt beyond a reasonable doubt; his right at trial to see, to hear, to confront, and to have

cross-examined all witnesses presented against him; his right to decline to testify unless he
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voluntarily elected to do so in his own defense; his right to remain silent; his right to the

issuance of subpoenas or compulsory process to compel the attendance of witnesses to testify in

his defense; and his right to a unanimous jury verdict. See Rule 11(b)(1)(B)B(E). The defendant

testified that he understood his right to plead not guilty and the attendant trial rights that he

would waive by pleading guilty. See Rule 11(b)(1)(F).

       In direct response to further questioning, the defendant also testified that he was pleading

guilty to the aforesaid offense charged in Count One of the Third Superseding Indictment

because he in fact participated in the criminal activities outlined against him in Count One of the

Third Superseding Indictment.

       To permit the court to determine whether an independent basis in fact existed for the

defendant=s guilty plea, counsel for the government submitted for filing as part of the record a

written Statement of Facts which summarized the essential facts that the government was

prepared to prove at trial to establish the offense charged against him in Count One of the Third

Superseding Indictment. The defendant and his counsel each represented that the defendant had

reviewed it, was fully aware of its contents, had signed it, and did not contest any of the facts set

forth therein. With the signature of the defendant and with the acknowledgment of the defendant

and his attorney that the written Statement of Facts fairly summarized the government=s case, it

was received, filed and made a part of the record. See Rule 11(b)(3).

       After testifying that he had heard and understood all parts of the proceeding, had no

questions and did not need to consult further with his counsel, the defendant stated that he

remained ready to plead guilty pursuant to the terms of the plea agreement. By counsel, the

defendant waived his right to a reading of the Third Superseding Indictment (as amended). Upon

then being then called-upon for his plea, the defendant entered a plea of GUILTY to the offense

charged in Count One alleging him with violation of Title 21 United States Code, Sections
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841(a)(1) and 841(b)(1)(C) and 846. The clerk then read the written guilty plea form to the

defendant; after acknowledging it to be correct, the defendant executed it, and it was filed and

made a part of the record.

         After entering his pleas of guilty and after an independent basis for each plea was

established, the defendant was again addressed personally. He reconfirmed that his decision to

plead guilty was fully voluntary and that it did not result from any force, threats, promises of

leniency or other inducement of any kind (other than that expressly set forth in the plea

agreement). See Rule 11(b)(2). The defendant also reconfirmed his complete satisfaction with

the services and assistance of his attorney.

         The defendant was then informed that acceptance of the plea agreement and his guilty

plea would be recommended to the presiding district judge, that a pre-sentence report would be

prepared, that he would be asked to give information for that report, that his attorney may be

present if he wished, and that he and his attorney would have the right to read the pre-sentence

report and to file objections to it. The defendant was then continued on his bond pending

preparation of a pre-sentence report and acceptance of his guilty plea by the presiding district

judge.

                                 GOVERNMENT=S EVIDENCE

         The written Statement of Facts referenced above is incorporated herein and made a part

hereof by reference.

                                      FINDINGS OF FACT

         Based on the evidence, representations of counsel, and the defendant=s sworn testimony

presented as part of the hearing, the undersigned submits the following formal findings of fact,

conclusions and recommendations:


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           1.    The defendant is fully competent and capable of entering an informed plea to the
                charge set forth in Count One of the Third Superseding Indictment;

           2. The defendant is fully aware of the nature of the felony charge set forth in Count
              One, and he is also fully aware of the consequences of his guilty plea to said
              offense;

           3. The defendant is fully informed, and he understands, the applicable enumerated
              items set forth in Rule 11(b)(1)(A)B(N);

           4. The defendant=s plea of guilty was made pursuant to a fully voluntary written plea
              agreement;

           5. The defendant=s entry into the plea agreement and his tender of a plea of guilty
              pursuant to the terms of the plea agreement were both made with the advice and
              assistance of counsel;

           6. The defendant knowingly and voluntarily entered his said plea of guilty;

           7. The defendant=s plea of guilty did not result from force, threats, inducements or
              promises other those promises contained in the written plea agreement;

           8. The plea agreement complies with the requirements of Rule 11(c)(1); and

           9. The evidence presents an independent basis in fact containing each essential
              element of the felony offense to which the defendant has entered a plea of guilty.


                               RECOMMENDED DISPOSITION

       Based on the above findings of fact, the undersigned RECOMMENDS that the court

ACCEPT the defendant=s plea of guilty to the charge in Count One of the Third Superseding

Indictment, that he be ADJUDGED GUILTY of said felony offense, and that a sentencing

hearing be held on December 17, 2014 beginning at 9:30 a.m. before the presiding district judge.

                                     NOTICE TO PARTIES

       NOTICE is hereby given to the provisions of 28 U.S.C. ' 636(b)(1)(c): Within fourteen

(14) days after being served with a copy of this Report and Recommendation, any party may

serve and file written objections to such proposed findings and recommendations as provided by

the rules of court. The presiding district judge shall make a de novo determination of those
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portions of the report or specified findings or recommendations to which an objection is made.

The presiding district judge may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the undersigned. The presiding district judge may also receive

further evidence or recommit the matter to the undersigned with instructions. A failure to file

timely written objections to these proposed findings and recommendations within fourteen

(14) days could waive appellate review.

       The clerk is further directed to transmit a copy of this Report and Recommendation to all

counsel of record, and at the conclusion of the fourteen-day period the clerk is directed to

transmit the record in this matter to the presiding United States district judge.

       DATED: This 26th day of August 2014.

                                                       s/James G. Welsh
                                                       United States Magistrate Judge




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